      Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 1 of 53



                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

JUANA LOPEZ AND AQUILINO LOPEZ §
                               §
vs.                            §                             C.A. NO. 4:19-cv-02029
                               §                                          (JURY)
STATE FARM LLOYDS              §


                          DEFENDANT’S NOTICE OF REMOVAL


TO THE HONORABLE JUDGE OF SAID COURT:

       STATE FARM LLOYDS (“State Farm”), Defendant in the above-styled and numbered

cause, files this Notice of Removal of the present case from the County Court at Law #2, Fort

Bend County, Texas to the United States District Court for the Southern District of Texas, Houston

Division. In connection with this Notice of Removal, State Farm would respectfully show the

Court as follows:

                                           I.
                                   PROCEDURAL BACKGROUND

        1.     On May 1, 2019, Juana Lopez and Aquilino Lopez (“Plaintiffs”) filed this action

against State Farm in County Court at Law #2 in Fort Bend County, Texas. The state court cause

number is 19-CCV-064942 (“State Court Action”). State Farm was served on May 6, 2019 and

filed its answer on May 24, 2019. In Plaintiffs’ Original Petition (“Original Petition”), Plaintiffs

state that they seek monetary relief of less than $100,000 and in an attempt to prevent removal,

further state that Plaintiffs seek damages of no more than $75,000. However, the amount in

controversy in this lawsuit exceeds the sum or value of $75,000.00, exclusive of interest and costs,

as required under section 1332(a). Despite Plaintiffs’ inaccurate jurisdictional allegation, removal

is proper because State Farm can prove by a preponderance of the evidence that the amount in
      Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 2 of 53



controversy exceeds $75,000. See 28 U.S.C. 1332(c)(2)(B) (“removal of a civil action is sought

on the basis of the jurisdiction conferred by section 1332 (a), the sum demanded in good faith in

the initial pleading shall be deemed to be the amount in controversy, except that removal of the

action is proper on the basis of an amount in controversy asserted under subparagraph (A) if the

district court finds, by the preponderance of the evidence, that the amount in controversy exceeds

the amount specified in section 1332 (a).”); De Aguilar v. Boeing Co., 47 F.3d 1404, 1412 (5th

Cir. 1995) (holding “the plaintiff’s claim remains presumptively correct unless the defendant can

show by a preponderance of the evidence that the amount in controversy is greater than the

jurisdictional amount.”).

        2.     In accordance 28 U.S.C. § 1446, State Farm files this Notice of Removal to remove

the State Court Action from the County Court at Law #2 in Fort Bend County, Texas to the United

States District Court for the Southern District of Texas, Houston Division.

                                               II.
                                          NATURE OF SUIT

       3.      Plaintiffs filed this lawsuit alleging State Farm failed to pay insurance benefits

owed to them in accordance with a Homeowner Policy for damage to the home caused by a

hail/windstorm that occurred on or about October 31, 2018. Plaintiffs’ Original Petition at ¶ IV.

Plaintiffs assert causes of action for breach of contract, for violations of Chapters 541 and 542 of

the Texas Insurance Code, and for violation of the DTPA. Id. at ¶¶ VI-VIII. Directly relevant to

this Notice of Removal, Plaintiffs expressly seek to recover the following damages in this lawsuit:

       (a) The cost to repair the home;

       (b) The amount of Plaintiff’s insurance claim, plus the statutory penalty on that claim;

       (c) Treble damages under the Texas DTPA;

       (d) Additional Damages under the Section 541 of the Texas Insurance Code;
      Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 3 of 53



       (e) Exemplary Damages; and

       (f) Attorneys’ fees.

Id. at ¶¶ VI- XIII. As addressed in further detail below, State Farm now timely files this Notice of

Removal, because there is complete diversity of citizenship between the parties, and Plaintiffs’

alleged damages listed above exceed the jurisdictional limits of this Court.



                                              III.
                                       BASIS OF REMOVAL

       4.      The Southern District of Texas has jurisdiction over this action, pursuant to 28

U.S.C § 1441 and 28 U.S.C. § 1332, because the parties are diverse and the amount in controversy

exceeds $75,000, exclusive of interests and costs.

       5.      First, the parties are diverse. At all relevant times, Plaintiffs were, and continue to

be, residents of Fort Bend County, Texas. Plaintiffs’ Original Petition at ¶ III. State Farm Lloyds

is an association of individual underwriters authorized to conduct business in Texas as a Lloyd’s

plan insurer, which is defined and set out in Chapter 941 of the Texas Insurance Code. The

citizenship of an unincorporated association is determined by the citizenship of each member of

the entity, not by the state where the entity is organized. Royal Ins. Co. v. Quinn-L Capital Corp.,

3 F.3d 877, 882–83 (5th Cir. 1993) (finding that a Lloyd’s plan association was not a Texas

citizen); see Griggs v. State Farm Lloyds, 181 F.3d 694, 698 (5th Cir. 1999) (finding that State

Farm Lloyds is a citizen of Illinois); Caballero v. State Farm Lloyds, No. CA-C-03-266, 2003 WL

23109217, at *1 (S.D. Tex. Oct. 31, 2003) (same). At all relevant times, State Farm was, and

continues to be, an unincorporated insurance association whose underwriters were, and still are,

citizens of states other than Texas. See attached Affidavit of Michael Roper. Accordingly, State

Farm is not a citizen of the State of Texas.
      Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 4 of 53



       6.      Second, Plaintiffs seek to recover damages for State Farm’s denial and/or

underpayment of their claim. See Plaintiffs’ Original Petition at ¶ VI. Plaintiffs contend that the

cost to repair the alleged damages covered under the policy is $35,322.65. See Exhibit A at p. 4;

see also, e.g., Lanfreth v. Allstate Tex. Lloyd’s, No. C-09-254, 2009 WL 3756902, at *3 n. 1

(collecting cases in the Fifth Circuit to explain that “Courts have consistently looked to demand

letters particularly pre-suit demand letters, as evidence of the amount in controversy.”). In

addition, Plaintiffs seek treble damages under section 17.50(b)(1) of the Texas DTPA as well as

the Texas Insurance Code, which must be included when calculating the amount in controversy.

See Plaintiffs’ Original Petition at ¶¶ VII-VIII; Cano v. Peninsula Island Resort & Spa, LLC, No.

1:09–121, 2010 WL 1790722, at *3 (S.D. Tex. May 4, 2010) (“punitive and treble damages such

as those pled in this case may be considered when computing the amount in controversy”). Three

times the amount of Plaintiffs’ alleged actual damages noted in Exhibit A amounts to more than

$75,000.

       7.      The amount in controversy is further compounded if, as required, any of the

following damages alleged in Plaintiffs’ Petition are included in calculating the amount in

controversy: (a) statutory penalty on Plaintiffs’ insurance claim under Section 542 of the Texas

Insurance Code;” (b) attorneys’ fees; (c) treble damages under section 541 of the Texas Insurance

Code and/or DTPA; and (d) exemplary damages. In light of the foregoing evidence, it is

indisputable that the amount in controversy in this case exceeds $75,000. See Whitmire v. Bank

One, N.A., No. Civ. A. H–05–3732, 2005 WL 3465726, at *3 (S.D. Tex. Dec. 16, 2005) (economic

damages of $15,370.50, together with unspecified mental anguish, treble damages, and attorney’s

fees, revealed an amount in controversy over $75,000). As such, Plaintiffs cannot show that they

are legally certain that the recovery will not exceed the amount stated in the Petition. See De
      Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 5 of 53



Aguilar, 47 F.3d at 1411 (“we hold that if a defendant can show that the amount in controversy

actually exceeds the jurisdictional amount, the plaintiff must be able to show that, as a matter of

law, it is certain that he will not be able to recover more than the damages for which he has prayed

in the state court complaint.”).

       8.      In an attempt to clarify whether the amount in controversy is truly $75,000 or less,

exclusive of interest and costs, Defendant requested a stipulation from Plaintiffs on that issue with

an agreement not to remove the case to federal court if Plaintiffs would enter into such stipulation.

See Exhibit B. However, Plaintiffs refused to enter into the stipulation further evidencing that the

true amount in controversy exceeds $75,000.

                                            IV.
                                     REMOVAL PROCEDURES

       9.      On May 1, 2019, Plaintiffs filed this case against State Farm in the County Court

at Law #2 of Fort Bend County, Texas. State Farm was served on May 6, 2019. State Farm filed

its Answer on May 24, 2019. This Notice of Removal is being timely filed on June 5, 2019.

Accordingly, this Notice of Removal is timely filed within 30 days of when State Farm received

service, see 28 U.S.C. § 1446(b)(1), and within one year from the commencement of this suit. See

28 U.S.C. § 1446(c)(1).

       10.     The Houston Division of the Southern District of Texas is the proper venue

because: (1) Plaintiffs’ property, which was allegedly damaged and which forms the basis of

Plaintiffs’ lawsuit, is located in Fort Bend County, 28 U.S.C. § 1391(b)(2), and (2) Plaintiffs’ State

Court Action was brought, and is pending, in Fort Bend County. 28 U.S.C. § 1441(a). Fort Bend

County is within the jurisdictional limits of the Houston Division. 28 U.S.C. § 124(b)(2).

       11.     All information and documents required by 28 U.S.C. § 1446(a) and by Local Rule

81 to be filed with this Notice of Removal are attached and indexed in Exhibit C. In addition,
      Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 6 of 53



pursuant to 28 U.S.C. § 1446 (d), a copy of this Notice of Removal will be promptly filed with the

Fort Bend County District Clerk’s Office and served on the Plaintiffs.

       12.     A jury fee was paid in state court and Defendants hereby request a jury trial in this

cause of action.

                                                V.
                                              PRAYER

       13.     State Farm respectfully requests that the above-styled action now pending in

County Court at Law #2 of Fort Bend County, Texas, be removed to this Honorable Court pursuant

to the Court’s diversity jurisdiction, that upon final trial, judgment be rendered for State Farm and

against Plaintiffs, that State Farm recover its costs, and for such other and further relief to which

State Farm may be justly entitled.

                                              Respectfully submitted,
                                              GERMER PLLC

                                              By:____________________________
                                                 DALE M. “RETT” HOLIDY
                                                 Federal Bar No. 21382
                                                 State Bar No. 00792937
                                                 America Tower
                                                 2929 Allen Parkway, Suite 2900
                                                 Houston, Texas 77019
                                                 (713) 650-1313 - Telephone
                                                 (713) 739-7420 - Facsimile
                                                 rholidy@germer.com
                                              ATTORNEY FOR DEFENDANT,
                                              STATE FARM LLOYDS
     Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 7 of 53



OF COUNSEL:

GERMER PLLC
James A. Tatem
State Bar No. 00785086
Federal I.D. No. 16798
America Tower
2929 Allen Parkway, Suite 2900
Houston, Texas 77019
(713) 650-1313 - Telephone
(713) 739-7420 - Facsimile
jatatem@germer.com




                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing instrument was
forwarded to all known counsel pursuant to the Federal Rules of Civil Procedure on this the 5th
day of June, 2019.
              Omar Ochoa                                         VIA CM/ECF
              OMAR OCHOA LAW FIRM
              121 N. 10th Street
              McAllen, Tx 78501



                                           DALE M. “RETT” HOLIDY
Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 8 of 53




                              DEFENDANT'S
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                                EXHIBIT

                                  A
Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 9 of 53
Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 10 of 53
Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 11 of 53
                 Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 12 of 53


Erika Lopez

From:                     Jim Tatem
Sent:                     Friday, May 31, 2019 9:02 AM
To:                       oochoa@omarochoalaw.com
Cc:                       Erika Lopez; Celine Razo; Rett Holidy
Subject:                  RE: Juana and Aquilino Lopez v. State Farm Lloyds
Attachments:              2019 05 08 De La Cruz Virgina- Stipulation of Damages.pdf


Mr. Ochoa,

I am following up on the below email and proposed stipulation which is attached. Please let us know if you are willing to
enter into the stipulation.

Thanks,

James A. Tatem
Germer PLLC
America Tower
2929 Allen Parkway, Suite 2900
Houston, Texas 77019
Ph: 713.650.1313 ext 210
Fax: 713.739.7420
jatatem@germer.com




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472‐0288 or return by e‐mail to: postmaster@germer.com. You will be reimbursed for reasonable costs incurred in notifying us.


From: Jim Tatem
Sent: Wednesday, May 22, 2019 5:06 PM
To: oochoa@omarochoalaw.com
Cc: Erika Lopez <elopez@germer.com>; Celine Razo <crazo@germer.com>; Rett Holidy <rholidy@germer.com>
Subject: Juana and Aquilino Lopez v. State Farm Lloyds

Mr. Ochoa,

We will be representing State Farm Lloyds in the above lawsuit. In reviewing Plaintiffs’ Petition, it appears that Plaintiffs
intend to limit all damages to an amount below $75,000. However, the actual damages as well as the various additional
damages alleged, may be above $75,000. My client will agree not to remove this case to federal court if you will agree to
sign a Stipulation regarding the total amount of damages. I have attached a Stipulation that was agreeable in another
case you filed against State Farm Lloyds.

Please let me know if you are willing to enter into the same Stipulation for this case. If so, I will provide one for your
signature.
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                                                                     EXHIBIT
                                                                          1
                                                                         B
                 Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 13 of 53
Thank you,

James A. Tatem
Germer PLLC
America Tower
2929 Allen Parkway, Suite 2900
Houston, Texas 77019
Ph: 713.650.1313 ext 210
Fax: 713.739.7420
jatatem@germer.com




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472‐0288 or return by e‐mail to: postmaster@germer.com. You will be reimbursed for reasonable costs incurred in notifying us.




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     Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 14 of 53


                                    CAUSE NO. 2019-CCL-00707


 VIRGINIA DE LA CRUZ,              §        IN THE COUNTY COURT
      Plaintiff,                   §
                                   §
 v.                                §               AT LAW NO. 4 OF
                                   §
 STATE FARM LLOYDS,                §
      Defendant.                   §      CAMERON COUNTY, TEXAS
                 BINDING STIPULATION OF DAMAGES
        COMES NOW Virginia De La Cruz, Plaintiff in the above-entitled and numbered civil
action who stipulates as follows:
1.      The total sum or value in controversy in this civil action does not exceed $75,000, exclusive
of interest and costs.
2.      The total amount sought by Plaintiff in this civil action does not exceed $75,000, exclusive of
interest and costs, including all statutory and contract damages, extra-contractual damages, punitive
damages, and attorney’s fees.
3.       Plaintiff and Plaintiff’s attorneys understand and agree that Plaintiff’s total recovery in this
civil action is limited to an amount not to exceed $75,000, exclusive of interest and costs.
4.      Neither Plaintiff nor Plaintiff’s attorneys will accept an amount that exceeds $75,000, exclusive
of interest and costs, in this civil action.
5.    Neither Plaintiff nor Plaintiff’s attorneys will amend the petition after one year to plead an
amount in controversy in excess of $75,000, exclusive of interest and costs, in this civil action.
6.      Neither Plaintiff nor Plaintiff’s attorneys will authorize anyone on their behalf or their future
heirs or assigns, to amend the petition after one year to plead an amount in controversy in excess of
$75,000, exclusive of interest and costs, in this civil action.
7.      For purposes of this stipulation, Plaintiff and Plaintiff’s attorneys understand and agree that
the term "interest" means pre- and post-judgment interest only, and that the term "costs" means
taxable court costs only.
8.     The parties agree that this Stipulation will be filed in the papers of this cause and is
enforceable pursuant to Tex. R. Civ. P. 11.
9.      This Stipulation is effective by Plaintiff and counsel for Plaintiff.
                        8
        Signed on May ______, 2019.
                                                             By:________________________
                                                             Omar Ochoa
                                                             OMAR OCHOA LAW FIRM
                                                             121 N. 10th St.
                                                             McAllen, Texas 78501
                                                             Telephone: 956-630-3266
                                                             oochoa@omarochoalaw.com
                                                             ATTORNEY FOR PLAINTIFF
     Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 15 of 53




                                 LIST OF ATTORNEYS/PARTIES

       Omar Ochoa
       OMAR OCHOA LAW FIRM
       121 N. 10th Street
       McAllen, Texas 78501
       Telephone: (956) 630-3266
       oochoa@omarochoalaw.com

Attorney for Plaintiffs

2.     Dale M. “Rett” Holidy
       rholidy@germer.com
       James A. Tatem
       jatatem@germer.com
       GERMER PLLC
       America Tower
       2929 Allen Parkway, Suite 2900
       Houston, Texas 77019
       Telephone: (713) 650-1313
       Facsimile: (713) 739-7420

Attorneys for Defendant



                                 INDEX OF DOCUMENTS FILED
                                   WITH REMOVAL ACTION

         JUANA LOPEZ AND AQUILINO LOPEZ VS. STATE FARM LLOYDS

               (a)        Plaintiffs’ Original Petition
               (b)        Notice of Service Process for State Farm Lloyds (return citation not filed in
                          State Court)
               (c)        Defendant State Farm Lloyds’ Original Answer
               (d)        Defendant State Farm Lloyds’ First Amended Answer and Jury Demand
               (e)        Docket Sheet




                                                 DEFENDANT'S
                                                               exhibitsticker.com




                                                   EXHIBIT

                                                      C
      Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 16 of 53                    Electronically Filed
                                                                                                5/1 /2019 9:51 AM
                                                                                                    Laura Richard
                                                                                                     County Clerk
                                                                                         Fort Bend County, Texas


                              CAUSE NUMBER 19-CCV-064942

JUANA AND AQUILINO LOPEZ                   §           IN THE COUNTY COURT
Plaintiffs,                                §

vs.                                        §          AT LAW NO Fort Bend County - Court at Law 2
                                           §
STATE FARM LLOYDS                          §
Defendant.                                 §          FORT BEND COUNTY, TEXAS


        PLAINTIFFS' ORIGINAL PETITION AND REQUEST FOR DISCLOSURE


TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COME, JUANA AND AQUILINO LOPEZ (hereinafter referred to as

("PLAINTIFFS"), and file their Original Petition against DEFENDANT, STATE FARM

LLOYDS, and would respectfully show the Court the following:

                                      I.       Discovery

        Pursuant to Rule 47 ofthe Texas Rules of Civil Procedure, PLAINTIFFS seek damages of

monetary relief of $100,000 or less. Specifically, PLAINTIFFS seek damages of monetary relief

of no more than $75,000.00. PLANTIFFS intend to conduct discovery pursuant to a Level 2

Discovery Control Plan.

                                II.        Service of Process

        STATE FARM LLOYDS may be served with process by serving citation and a copy of

this Original Petition by Certified Mail Return Receipt Requested on its agent for service at:

Corporation Service Company, 211 E. St. Ste. 620, Austin, Texas 7 870 1.




                                               1
    Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 17 of 53




       STATE FARM LLOYDS is in the business of providing insurance in the State of Texas.

The insurance business done by STATE FARM LLOYDS in Texas includes, but is not limited to

the following:

     1.      The making and issuing of contracts of insurance with the PLAINTIFFS;

     2.      The taking or receiving of application for insurance, including the PLAINTIFFS'

             application for insurance;

     3.      The receiving or collection of premiums, commissions, membership fees,

             assessments, dues or other consideration for any insurance or any part thereof,

             including any such consideration or payments from the PLAINTIFFS;

     4.      The issuance or delivery of contracts of insurance to residents ofthis state or a person

            authorized to do business in this state, including the PLAINTIFFS;

     5.      The adjusting and inspection of PLAINTIFFS' insurance claims;

     6.      Making insurance coverage decisions;

     7.      Taking part in making insurance coverage decisions; and

     8.     Making representations to PLAINTIFFS as being an agent for an insurance company

            with authority to make coverage decisions;

                                    III.    Jurisdiction and Venue

       Venue of this action is proper in FORT BEND County, Texas because the policy at issue

was issued and delivered in FORT BEND County, Texas; the property insured is situated in FORT

BEND County, Texas; PLAINTIFFS' losses occurred in FORT BEND County, Texas, and all or

part ofthe events made the basis ofthis lawsuit and giving rise to PLAINTIFFS' claims and causes

of action occurred in FORT BEND County, Texas.




                                                 OA
    Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 18 of 53




                                              IV.    Facts

       STATE FARM LLOYDS and/or its agents committed the actions alleged against

PLAINTIFFS in this petition. PLAINTIFFS own the property located at: 6718 Indian Falls Dr.

Missouri City, Texas 77489 with Policy # 53BVY0456; Claim# 537116H2O.STATE FARM

LLOYDS provided coverage to the PLAINTIFFS for such building, personal property, and other

matter. During the term of said policy, PLAINTIFFS sustained covered losses in the form of a

hail/windstorm event on or about October 31, 2018 in FORT BEND County, and water damages

resulting therefrom, including damage to the architectural finishes of the property. PLAINTIFFS

promptly reported losses to STATE FARM LLOYDS pursuant to the terms ofthe insurance policy.

As a result, PLAINTIFFS' property sustained damage, including the cost of destruction and

restoration of the property necessary to access and fix the damaged areas. These are covered

damages under PLAINTIFFS' insurance policy with STATE FARM LLOYDS. PLAINTIFFS

have been damaged in an amount in excess of the minimum jurisdictional limits of this Court,

including injuries sustained as a result of having conduct business during the pendency of STATE

FARM LLOYDS'S conduct.

                                     V.      Conditions Precedent

       All conditions precedent have been waived by the insurance company, have been

performed by the Plaintiffs, or have otherwise been satisfied. Despite these facts, STATE FARM

LLOYDS has failed and refused to pay the PLAINTIFFS a just amount in accordance with their

contractual obligations, agreements, and representations. Moreover, Defendant's claims that the

Plaintiffs did not comply with the contract are barred by waiver, based on Defendant's breach and

noncompliance with the material terms of the insurance contract. Generally, when one party to

contract commits material breach, the other party is discharged or excused from further



                                               3
      Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 19 of 53




performance. Mustang Pipeline Co., Inc. v. Driver Pipeline Co. Inc., 134 S:W.3d 195, 196 (Tex.

2004).

                                        VI. Breach of Contract

         PLAINTIFFS purchased an insurance policy with STATE FARIVI LLOYDS.

PLAINTIFFS' property was damaged by the hail/windstorm and water damage, all of which are

covered under the insurance policy. STATE FARM LLOYDS has denied and/or delayed payment

of PLAINTIFFS' covered claims. STATE FARM LLOYDS has no reasonable basis for denying,

delaying, or failing to pay PLAINTIFFS' claims for damages. STATE FARM LLOYDS knew or

should have known that there was no such reasonable basis to deny, delay, and fail to pay such

claims. The conduct of STATE FARM LLOYDS was irresponsible and unconscionable. STATE

FARM LLOYDS took advantage of the PLAINTIFFS' lack of sophistication in insurance and

construction matters to a grossly unfair degree. STATE FARM LLOYDS has, by its conduct,

breached its contract with the PLAINTIFFS. The conduct of STATE FARM LLOYDS has

proximately caused the injuries and damages to the PLAINTIFFS.

                         VII. Second Cause of Action: DTPA Violations

         PLAINTIFFS are "consumers" entitled to relief under the Texas Deceptive Trade

Practices—Consumer Protection Act ("DTPA"). By its conduct outlined above, STATE FARM

LLOYDS has engaged in the following violations of the DTPA which, together and separately,

have beeri a producing cause of PLAINTIFFS' damages:

(a)      STATE FARM LLOYDS made false representations about PLAINTIFFS' rights,

         remedies, and obligations under the policies at issue. These statements were a

         misrepresentation ofthe insurance policies and their benefits in violation of §§ 17.46(b)(5),

         (7), (12) and (14), Texas Business & Commerce Code;



                                                   4
      Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 20 of 53




(b)     STATE FARM LLOYDS'S actions constitute an unconscionable course of conduct

        entitling the PLAINTIFFS to relief under §17.50(a)(1), (2), (3), and (4) of the Texas

        Business & Commerce Code;

(c)     STATE FARM LLOYDS failed to disclose information to the PLAINTIFFS concerning

        the nature and extent of their insurance policy, which was known by STATE FARIVI

        LLOYDS at the time for the purpose of inducing PLAINTIFFS into transactions which

        they would not have otherwi.se entered in violation of section 17.46(b)(9) and (23), Texas

        Business and Commerce Code;

(d)     As described above, STATE FARM LLOYDS violated Chapter 541, Texas Insurance

        Code, entitling the PLAINTIFFS to relief under section 17.50(a)(4), Texas Business and

        Commerce Code.

        STATE FARM LLOYDS took advantage of PLAINTIFFS' lack of knowledge in

construction and insurance claims processes, misrepresented losses covered under the insurance

policy, and failed to disclose pertinent information regarding damages to the PLAINTIFFS'

property. STATE FARM LLOYDS conduct as described herein was aproducing cause of damages

to PLAINTIFFS, for which they now sue. The conduct ofthe STATE FARM LLOYDS was more

than just a mistake, and was done "knowingly" and/or "intentionally," as those terms are derived

by statute. Because of that, STATE FARM LLOYDS may be subject to liability for additional

damages under the Texas Deceptive Trade Practices Act. PLAINTIFFS seek an award of

additional damages under the DTPA in an amount not to exceed three times the amount of

economic damages.




                                                E
      Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 21 of 53




                                 VIII. Unfair Insurance Practices

STATE FARM LLOYDS failed to inform PLAINTIFFS of material facts, such as the true scope

of damage and cost to repair. STATE FARM LLOYDS failed to properly process claims and have

misrepresented material facts to the PLAINTIFFS. STATE FARM LLOYDS has failed to address

all damage to the property and its contents causing further damage to the PLAINTIFFS. Further,

STATE FARM LLOYDS has intentionally failed to fully investigate the loss; failed to properly

convey all information to PLAINTIFFS; and has intentionally ignored damages to the dwelling.

PLAINTIFFS' property suffered from covered losses and damages of which STATE FARM

LLOYDS is fully aware. STATE FARM LLOYDS has concealed damage known by it to exist.

STATE FARM LLOYDS has known about covered hail/windstorm and water damages but has

failed to perform proper testing and concealed facts from PLAINTIFFS about the damages,

ignoring PLAINTIFFS' plea for help. STATE FARM LLOYDS has failed to warn PLAINTIFFS

of consequential damage to their property.

        By its conduct outlined above, STATE FARM LLOYDS committed unfair practices in the

business of insurance prohibited by Chapter 541, Texas Insurance Code, and the statutes, rules and

regulations incorporated therein. STATE FARM LLOYDS committed the following acts in

violation of Texas Insurance Code and Texas Administrative Code:

(1)     STATE FARIVI LLOYDS failed to, with good faith, effectuate a prompt, fair, and equitable

        settlement of the PLAINTIFFS' claims once liability became reasonable clear (Tex. Ins.

        Code Ann. 541.060(a)(2)(A); Tex. Ins. Code Ann. 542.003(b)(4); 28 TAC section

        21,203(4));

(2)     STATE FARM LLOYDS failed to provide promptly to PLAINTIFFS a reasonable

        explanation of the basis in the policy, in relation to the facts or applicable law, for denial



                                                  51
      Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 22 of 53




        of the claim or for the offer of a compromise settlement of the claim (Tex. Ins. Code Ann.

        541.060(a)(3); 28 TAC section 21.203(9));

(3)     STATE FARM LLOYDS refused to pay a claim without conducting a reasonable

        investigation with respect to that claim (Tex. Ins. Code Ann. 541.060(a)(7); TAC section

        21.203(15));

(4)     STATE FARM LLOYDS breached its duty of good faith and fair dealing at common law;

(5)     STATE FARM LLOYDS failed to adopt and implement reasonable standards for the

        prompt investigation of claims arising under the insurer's policies (Tex. Ins. Code Ann.

        542. 003(b)(3); 28 TAC section 21.203(3));

(6)     STATE FARM LLOYDS compelled PLAINTIFFS to institute a suit to recover an amount

        due under a policy by offering substantially less than the amount ultimately recovered in a

        suit brought by the policyholder (Tex. Ins. Code Ann. 542.003(b)(5); 28 TAC section

        21.203(6);

(7)     STATE FARM LLOYDS violated the Prompt Payment of Claims Statute (28 TAC section

        21.203(18));

(8)     STATE FARM LLOYDS committed the following unfair methods of competition or

        deceptive acts or practices in the business of insurance in violation of Texas Insurance

        Code and the Texas Administrative Code by:

        (a)    STATE FARM LLOYDS made, issued or circulated or caused to be made, issued

               or circulated an estimate, illustration, circular or statement misrepresenting with

               respect to the policy issued or to be issued:

               (i)     the terms ofthe policy; and/or

               (ii)    the benefits or advantages promised by the policy.



                                                 7
    Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 23 of 53




       (b)     STATE FARM LLOYDS made an untrue statement of material fact (Tex. Ins. Code

               Ann. 541.060(a)(1); 28 TAC section 21.203(1));

       (c)     STATE FARM LLOYDS failed to state a material fact necessary to make other

               statements made not misleading, considering the circumstances under which

               statements were made; and

       (d)     STATE FARM LLOYDS made statements in a manner that would mislead a

               reasonably prudent person to a false conclusion of material fact.

       (e)     STATE FARM LLOYDS refused to make a settlement offer under applicable first-

               party coverage onthe basis that other coverage may be available orthat third parties

               are responsible for the damages suffered, except as may be speci_f'ically provided in

               the policy (Tex. Ins. Code Ann 541.060(a)(5); 28 TAC section 21.203(11);

STATE FARM LLOYDS'S conduct as described herein was a producing cause of damages to

PLAINTIFFS, for which they now sue.

                   IX.     Breach of the Duty of Good Faith and Fair Dealing

       From and after the time the PLAINTIFFS' claims were presented to STATE FARM

LLOYDS, liability to pay the claims in accordance with the terms of insurance policies referenced

above has been reasonably clear. Despite there being no basis whatsoever on which a reasonable

insurance company would have relied to deny and/or delay payment for PLAINTIFFS' claims,

STATE FARM LLOYDS refused to accept the claims in totality and pay the PLAINTIFFS as the

policy required. At that time, STATE FARM LLOYDS knew or should have known by the

exercise of reasonable diligence that their liability was reasonably clear. STATE FARM LLOYDS

failed to conduct a reasonable and proper inspection of the claims and refused to rely on the true

facts, resorting instead to producing faulty, incomplete and biased reasons to avoid paying a valid



                                                 8
    Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 24 of 53




claim. This constitutes failing to handle or process the PLAINTIFFS' claims in good faith, an

affirmative duty placed on STATE FARM LLOYDS, as expressly stated by the Texas Supreme

Court in Vail v. Texas Farnz Bureau, 754 S. W.2d 129 at 135 (Tex. 1988). Through the actions

described above, STATE FARM LLOYDS breached its duty to deal fairly and in good faith with

the PLAINTIFFS.STATE FARM LLOYDS'S breach was a proximate cause of the losses,

expenses, and damages suffered by the PLAINTIFFS, for which they sue.

              X.      Texas Insurance Code 542, Subchapter B Delay in Payment

       PLAINTIFFS gave prompt notice of their claims to STATE FARM LLOYDS. STATE

FARM LLOYDS has engaged in unfair settlement claims practices, as discussed above and denied

and/or has delayed payment on PLAINTIFFS' claim. STATE FARM LLOYDS'S reliance on

reports and estimates from its adjusters and investigating adjusters has been "merely pretextual"

and unreasonable. STATE FARM LLOYDS'S investigation and use of adjusters' reports was an

"outcome-oriented investigation." STATE FARM LLOYDS failed to comply with the

requirements of Chapter 5421isted herein:

       (a)     Failing to pay PLAINTIFFS' claim within 60 days of receiving all of the items,

              statements, and forms required by the insurer to secure final proof of loss, of the

               acceptance or rejection of a claim; and

       (b)     Failing to request all of the items, statements and forms the STATE FARM

               LLOYDS reasonably believed at the time would be required from PLAINTIFFS to

               paythe claim within 15 days after receiving notice ofthe claim.

       Pursuant to Texas Insurance Code Chapter 542, Subchapter B, PLAINTIFFS are entitled

to recover from STATE FARM LLOYDS the statutory penalty of 5% plus the interest rate




                                                ~7
    Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 25 of 53




determined under Section 304.003, Finance Code, on all amounts due on PLAINTIFFS' claims,

together with attorney's fees, for which they sue.

                                              XI.

       PLAINTIFFS allege that as to any terms, conditions, notices, or requests under the

insurance contract, PLAINTIFFS have substantially complied and/or is excused. Inthe alternative,

PLAINTIFFS make the allegation of waiver and/or estoppel as to every defense or exclusion plead

by STATE FARM LLOYDS as to any exclusion, condition, or defense pled by STATE FARM

LLOYDS, PLAINTIFFS would show that:

           1. The clear and unambiguous language ofthe policy provides coverage for dwelling

               damage caused by windstorm and water damage, including the cost of access to fix

               the damaged areas. Any other construction ofthe language of the policy is void as

               against public policy;

           2. Any other construction and its use by STATE FARM LLOYDS violates section

               541 and 542 ofthe Texas Insurance Code and are void as against public policy;

           3. Any other construction violates Art. 17.50 of the Texas Business and Commerce

               Code, is unconscionable, was procured by fraudulent inducement, and is void as

               against public policy;

           4. Any other construction is otherwise void as against public policy, illegal, and

               violates state law and administrative rule and regulation;

           5. The adoption of any other construction constitutes wrongful or bad faith

               cancellation and/or refusal to renew a portion of PLAINTIFFS' predecessor policy

               with STATE FARM LLOYDS. In this regard, PLAINTIFFS would show that their

               insurance policy was renewed uninterruptedly for many years; and



                                                10
    Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 26 of 53




           6. The adoption of any other construction constitutes conduct in violation ofthe laws

               of this state, including section 541 and 542 of Texas Insurance Code is void as

               against public policy.

       If this Coutt fmds any ambiguity in the policy, the rules of construction of such policies

mandate the construction and interpretation urged by PLAINTIFFS. In the alternative, STATE

FARM LLOYDS is judicially, administratively, or equitably estopped from denying

PLAINTIFFS' construction of the po licy coverage at issue. To the extent that the wording of such

policy does not reflect the true intent of all parties thereto, PLAINTIFFS plead the doctrine of

mutual mistake, requiring reformation.

                                    XII. Exemplary Damages

       Plaintiffs would further show that the acts and omissions of Defendant and its agents,

adjusters, employees and/or representatives complained of herein were committed knowingly,

willfully, intentionally, with actual awareness, and with the specific and predetermined intention

of enriching said Defendant at the expense of the Plaintiffs. In order to punish said Defendant for

such unconscionable overreaching and to deter such actions and/or omissions in the future,

Plaintiffs request exemplary damages pursuant to 17.50(b)(1) of the Texas Business and

Commerce Code and § 541.152(b) of the Tex. Ins. Code.



       WHEREFORE, PREMISES CONSIDERED, PLAINTIFFS respectfully request this

Honorable Court for the following relief: that upon final hearing and trial hereof, this Honorable

Court grant to the PLAINTIFFS such relief as to which they may show themselves justly entitled,

either at law or in equity; either general or special, including declaratory judgment, judgment

against the STATE FARM LLOYDS for actual attorney's fees, cost of suit, mental anguish, DTPA



                                                11
    Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 27 of 53




violations, Texas Insurance Code violations, statutory penalties, and pre-judgment and post-

judgment interest, including judgment for additional damages and punitive damage under the facts

set forth in this or any amended pleading in exceeding the minimal jurisdictional limits of the

court.

                                        XIV. Jury Demand

         PLAINTIFFS request that this Court empanel a jury to sit in the trial of this matter. The

requisite jury fee will be paid as required by law.

                                  XV.     Requests for Disclosure

         Under Texas Rule of Civil Procedure 194, PLAINTIFFS request that STATE FARM

LLOYDS disclose, within 50 days of the service of this request, the information or material

described in Texas Rule of Civil Procedure 194.



                                              Respectfully submitted,


                                              OMAR OCHOA LAW FIRM
                                              121 N. 10" St.
                                              McAllen, Texas 78501
                                              Telephone: (956) 630-3266

                                              ls/ Omar Ochoa
                                              OMAR OCHOA
                                              State Bar No. 24079813
                                              oochoa(a7omarochoalaw.com
                                              ATTORNEYFOR PLAINTIFFS




                                                 12
Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 28 of 53




                           Instructions and DeSnitions

        "You" or "Your" means the party responding to requests.

  2.    "The Policy" means the insurance policy that is the basis of claims made against
        STATE FARM LLOYDS in this lawsuit.

  3.    "Insured Location" means the real property at the location described in the Policy
        declarations.

  4.    "Dwelling" means the dwelling located at the Insured Location at the time of loss.

  5.    "Other Structures" means any structures located atthe Insured Location duringthat
        time that are set apart from the Dwelling by a clear space, including those connected
        only by a fence, utility line, or similar connection.

  6.    "Other Damages" means debris removal, temporary repairs, trees and shrub
        removal, personal property removal and storage, loss of use and additional living
        expenses.

  7.    "Personal Property" means any or all ofthe personal property and business personal
        propertythat is the subject ofthe claims made against STATE FARM LLOYDS in
        this lawsuit.

        "Your Counsel" means the attorney or attorneys who are representing or have
        represented you either with regard to the claim or in this lawsuit.

  9.    "The Claim" means the insurance claim made the basis of the breach of contract
        claim against STATE FARM LLOYDS in this lawsuit.

  10.   "Written Communication" means the conveyance of information by a writing,
        whether by letters, e-mails, memoranda, handwritten notes and/ or faxes.

  11.   "Document" means letters, words or numbers or their equivalent, set down by
        handwriting, typewriting, printing, photostating, photographing, magnetic or
        electronic impulse, mechanical or electronic recording, or other form of data
        compilation. See Texas Rule of Evidence 1001 (a). "Document" specifically
        includes information that exists in electronic or magnetic form.

  12.   "Witness Statement" means the statement of any person with knowledge ofrelevant
        facts, regardless of when the statement was made, and is a(1) written statement
        signed or otherwise adopted or approved in writing by the person making it, or (2)
        a stenographic, mechanical, electrical, or other type of recording of a witness's oral
        statement, or any substantially verbatim transcript of such recording. See Texas
        Rule of Civil Procedure 192.3(h).



                                          13
Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 29 of 53




  13.   "Date" means the exact date, month and year, if ascertainable, or, if not, the best
        available approximation.

                                    INSTRUCTIONS

  1.    You are requested to produce photographs, video recordings and audio recordings
        that were created or stored electronically.

  2.    Pursuant to Rule 196.4, you are requested to produce electronic or magnetic data
        responsive to the Request for Production below in tiff or pdf searchable format,
        including email, instant message and pdf forms of the documents.




                                        14
     Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 30 of 53




                                     INTERROGATORIES


       Please identify any person you expect to call to testify the time of trail.

       ANSWER:

2:     Identify the persons involved in the investigation and handing of Plaintiffs' claim for
       insurance benefits arising from damage during and include a brief description of the
       involvement of each person identified, their employer, and date(s) of such involvement.

       ANSWER:

       If you performed any investigative steps in addition to what is reflected in the claims file,
       please generally describe those investigative steps conducted by you or any of your
       representatives with respect to the facts surrounding the circumstances ofthe subject loss.
       Identify the persons involved in each step.

       ANSWER:

4.     Identify by date, author, and result the estimates, appraisals, engineering, mold and other
       reports generated as a result of your investigation.

       ANSWER:

       State the following concerning notice of claim and timing of payment:

       a. The date and manner in which you received notice of the claim
       b. The date and manner in which you acknowledged receipt of the claim
       c. The date and manner in which you commenced investigation of the claim
       d. The date and manner in which you requested from the claimant all items, statements,
       and forms that you reasonably believed, at the time, would be required from the claimant
       e. The date and manner in which you notified the claimant in writing of the acceptance or
       rejection ofthe claim

       ANSWER:

6.     Identify by date, amount and reason, the insurance proceed payments made by you to the
       Plaintiffs.

       ANSWER:

7.     Has Plaintiff's claim for insurance benefits been rejected or denied? If so, state the reasons
       for denying the claim.

       ANSWER:


                                                 15
      Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 31 of 53




8.      Please identify the written procedures or policies (including document(s) maintained in
        electronic form) you maintained for your internal or third party adjusters to use in
        connection with handling property and casualty claims.

        ANSWER:

9.      When was the date you anticipated litigation?

        ANSWER:

10.     From November 1, 2010 to the present, what documents (including those maintained
        electronically) relating to the investigation or handling of a claim for windstorm insurance
        benefits in Texas are routinely generated during the course of the investigation and
        handling of a claim by you (e.g. Investigation Reports; z-records; reserves sheet; electronic
        claims diary; a claims review report; team controversion report)?

        ANSWER:

11.     Have any documents (including those maintained electronically) relating to the
        investigation or handling of Plaintiffs' claims for insurance beneftts been destroyed or
        disposed of? If so, please identify what, when and why the document was destroyed, and
        describe your document retention policy.

        ANSWER:

12.     Do you contend that the insured premises was damaged by flood water, storm surge and/
        or any excluded peril? If so, state the general factual bases for this contention.

        ANSWER:

13.     Do you contend that any act or omission by Plaintiffs' voided, nullified, waived or
        breached the insurance policy in any way? If so, state the general factual bases for this
        contention.

        ANSWER:

14.     Do you contend that the Plaintiffs' failed to satisfy any condition precedent or covenant of
        the policy in any way? If so, state the general factual bases for this contention.

        ANSWER:

15.     How is the performance of the adjusters involved in handling Plaintiffs' claim evaluated?
        State the following:

        a.     what performance measures are used
        b.     describe your bonus or incentive plan for adjusters
Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 32 of 53




        have any listed in response to requests for production had a criminal record/record
        of complaint with the Texas Department of Insurance, performed a violation of
        company claim handling procedures

  ANSWER:




                                        17
   Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 33 of 53




                                             DEFINITIONS

       In the event you object to any ofthe items requested, you are instructed to furnish all other
documents to which no objection is made. Also note that Rule 196.3(c) provides that a party shall
produce documents as they are kept in the usual course of business or shall organize and label
them to correspond witli the categories in this request.

       Please be advised that the undersigned intends to use the documents you produce in
response to this request for production in any hearing or trial of this lawsuit. TEX. R. CIV. P.
193.7.

              "You" or "Your" means the party responding to requests.

      2.      "The Policy" means the insurance policy that is the basis of claims made against
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              time that are set apart from the Dwelling by a clear space, including those connected
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      6.      "Other Damages" means debris removal, temporary repairs, trees and slu-ub
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      11.     "Document" means letters, words or numbers or their equivalent, set down by
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              electronic impulse, mechanical or electronic recording, or other form of data
Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 34 of 53




        compilation. See Texas Rule of Evidence 1001 (a). "Document" specifically
        includes information that exists in electronic or magnetic form.

  12.   "Witness Statement" means the statement of any person with knowledge of relevant
        facts, regardless of when the statement was made, and is a(1) written statement
        signed or otherwise adopted or approved in writing by the person making it, or (2)
        a stenographic, mechanical, electrical, or other type of recording of a witness's oral
        statement, or any substantially verbatim transcript of such recording. See Texas
        Rule of Civil Procedure 192.3(h).

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        available approximation.

                                     INSTRUCTIONS

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        that were created or stored electronically.

  2.    Pursuant to Rule 196.4, you are requested to produce electronic or magnetic data
        responsive to the Request for Production below in tiff or pdf searchable format,
        including email, instant message and pdf forms of the documents.




                                         19
     Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 35 of 53




                       REQUESTS FOR PRODUCTION OF DOCUMENTS

       The claim and underwriting files from the home, regional, local offices, and third party
       adjusters/ adjusting firms regarding the claim that is the subject of this matter, including
       copies ofthe policy, file jackets, "field" files and notes, and drafts of documents contained
       in the file.

       RESPONSE:

2.     The electronic diary, including the electronic and paper notes made by STATE FARM
       LLOYDS's claims personnel, contractors, and third party adjusters/ adjusting firms
       relating to Plaintiff's claims.

       RESPONSE:

3.     Your written procedures or policies (including document(s) maintained in electronic form)
       that pertain to the handling of storm claims and complaints made by policy holders in Texas
       from July 1, 2010 to date. If the party answering this request is an independent adjuster,
       produce the request documents for both the independent adjusting company and the party
       [carrier] that hired you with the respect to this claim.

       RESPONSE:

4.     The Operation Guides which relate to the handling of claims in Texas in effect from July
       1, 2010 to date. If the party answering this request is an independent adjuster, produce the
       request documents for both the independent adjusting company and the party [carrier] that
       hired you with respect to this claim.

       RESPONSE:

5.     The adjusting and engineering reports, notes, correspondence, estirnates, appraisals,
       photographs and/or recordings prepared concerning Plaintiif's underlying claims.

       RESPONSE:

6.     If you dispute the cause of the loss produce the engineering reports in your possession
       regarding damage to property within a one-mile radius of the Plaintiff s insured property.

       RESPONSE:

7.     The price guidelines that pertain to the handling of claxms arising out of storm damage. In
       the event you utilize published guidelines or "offthe shelf 'software, without modification,
       as your price guidelines, you may respond by simply identifying by name, version, and/or
       edition the published guidelines you use.

       RESPONSE:

8.     The Plaintiff's file fromthe office oftheir insurance agent.

                                                20
      Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 36 of 53




        RESPONSE:

9.      The information regarding weather and storm surge conditions on which you relied in
        making decisions on the Plaintiffs' claims.

        RESPONSE:

10.     The documents, manuals, and training materials, including audio/ or video tapes used in
        training, overseeing, or supervising your personnel employed in adjusting property claims
        in Texas and in effect from

        RESPONSE:

11.     "Pay sheet," "Payment Log," or list of payments made on Plaintiffs' claim. This includes
        all indemnity, claim expenses, third party payments and billing statements.

        RESPONSE:

12.     The documents reflecting reserves applied to the subject claim.

        RESPONSE:

13.     For the past five years, the portions of the personnel file of the adjuster(s) involved in
        handling Plaintiffs' claim that pertain in disciplinary actions associated with claims
        handling, and performance under a bonus or incentive plan.

        RESPONSE:

14.     The managerial and adjuster bonus or incentive plan for managers responsible for storm
        claims in effect for the time period January 1, 2010 to date.

        RESPONSE:

15.     If a third party engineer evaluated the subject property, provide the correspondence
        between STATE FARM LLOYDS insurer and third party adjuster and documents that
        show the number of other matters in which the same engineers were retained by you to
        evaluate others properties over the past five years.

        RESPONSE:

16.     Copies of any and all documents that you contend support any afffirmative defense, which you
        allege applies to this action.

        RESPONSE:




                                                 21
                 Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 37 of 53




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                                                                                                     Transmittal Number: 19760443
Notice of Service of Process                                                                            Date Processed: 05/07/2019

Primary Contact:           State Farm Enterprise SOP
                           Corporation Service Company- Wilmington, DELAWARE
                           251 Little Falls Dr
                           Wilmington, DE 19808-1674

Entity:                                       State Farm Lloyds
                                              Entity ID Number 3461674
Entity Served:                                State Farm Lloyds
Title of Action:                              Juana Lopez vs. State Farm Lloyds
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 Fort Bend County Court at Law, TX
Case/Reference No:                            19-CCV-064942
Jurisdiction Served:                          Texas
Date Served on CSC:                           05/06/2019
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Omar Ochoa
                                              956-630-3266

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                 Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 38 of 53
CAUSE NO. 19-CCV-064942                                     THE STATE OF TEXAS

TO:        STATE FARM LLOYDS
           CORPORATION SERVICE COMPANY, AGENT FOR SERVICE
           211 E. STREET, SUITE 620
           AUSTIN, TX 78701

           Defendant, in the hereinafter styled and numbered Cause;

YOU ARE HEREBY COMMANDED TO APPEAR before the Honorable County Court at Law 2 of Fort Bend County, Texas, at the
Courthouse being located at the Fort Bend County Justice Center, 1422 Eugene Heimann Circle, in the City of Richmond, Texas by
filing a written answer to the Petition of Plaintiff s at or before 10 o'clock A.M. of the Monday next after the expiration of 20 days
after the date of service hereof, a copy of wliich accompanies this Citation, in Cause No. 19-CCV-064942, styled: Juana Lopez,
Aquilino Lopez vs State Farm Lloyds, filed in said Court on the lst day of May, 2019.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, this the 1 st day of May, 2019.

                                                                            LAURA RICHARD, COUNTY CLERK
                                                                            FORT BEND COUNTY, TEXAS
                                                                            301 JACKSON, SUITE 101
                                                                            RICHMOND, TX 77469-3108
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                                                                                                                                   :-`
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                                                                                                                                             • ...
                                                                                           V`    —
                                                                            By:
                                                                                       Lori A. Cantu, Deputy

You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the clerk who issued this
citation by 10:00 A.M. on the next Monday next following the expiration of 20 days after you were served this citation and petition, a
default judgment may be taken against you. The name and address of the Plaintiff's attorney is:

          Omar Ochoa
          Omar Ochoa Law Firm
          121 N. 10th Street
          McAllen, TX 78501
          956-630-3266

                                              OFFICER'S OR AUTHORIZED PERSON'S RETURN

CAME TO HAND on the lst day of May, 2019 at                o'clock       M., and executed at Fort Bend County, Texas at          o'clock
     M. on the 1 st day of May, 2019 by delivering to the within named State Farm Lloyds, by depositing in the United States Post
Office, Certified Mail, Return Receipt Requested, a true copy of this citation together with the accompanying copy of the petition,
having first attached such copy of such petition to such copy of citation and endorsed on such copy of citation the date of delivery.

                                                                            LAURA RICHARD, COUNTY CLERK
                                                                            FORT BEND COUNTY, TEXAS


                                                         BY: 4a"—j
                                                           Lori A. Cantu, Deputy
File stamp indicates return of the following to this office:

           Green card             7018 2290 0001 1370 9237

           Envelope
NOTE: POLICY OF NON-DISCRIMINATION ON THE BASIS OF DISABILITY Fort Bend County does not discriminate on the basis of disability in the admission
or access to, or treatment, or employment in, its programs or activities. Fort Bend County AD Coordinator, Rosenberg Annex, 4520 Reading Road, Suite A, Rosenberg,
Texas 77471, phone (281) 341-8618 has been designated to coordinate compliance with the non-discrimination requirements contained in Section 35.107 of the
Department of Justice regulations. Information concerning the provisions of the American with Disability Act, and the rights provided thereunder, are available from
the ADA Coordinator.
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Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 39 of 53
Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 40 of 53
Summary Filling                                                          Page 1 of 2
      Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 41 of 53




         Envelope ID :33844126


 Case Number : 19-CCV-064942


 Case Type

  Jurisdiction : Fort Bend County - Court at Law 2                     Case Category : Civil - Contract

  Case Type : Debt/Contract - Debt Collection                          Filer Type : Not Applicable

  Payment Account: File & ServeXpress CC                               Attorney : Rett Holidy

  Case Number: 19-CCV-064942

  Client Matter ID: 98237                                              Date Filed: 5/24/2019 09:47:08 AM




 Parties                3

         Sending Party                         Party Type                            Name                            Address

                                                                                                          Corporation Service Compan
                                    Defendant or Respondent           State Farm Lloyds                  y , 211 E. St. Ste. 620 , Austi
                                                                                                          n , Texas , 78701

                                                                                                          c/o Omar Ochoa Law Firm , 1
                                     Plaintiff or Petitioner           Aquilino Lopez                     21 N. 10th Street , McAllen , T
                                                                                                          exas , 78501

                                                                                                          c/o Omar Ochoa Law Firm , 1
                                     Plaintiff or Petitioner           Juana Lopez                        21 N. 10th Street , McAllen , T
                                                                                                          exas , 78501




 Documents

               Filing         Filing        Original       Converted   Stamped        Optional   Document       Document
   Status                                                                                                                          Fees
               Code         Description    Document        Document    Document       Services   Category       Description

  Accepte     Answer/       Answer         Answer.pd                   Answer.tiff               Does not c     Answer           $0.00
  d           Respons                      f                                                     ontain sen
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https://www.fileandservetexas.com/Efile/CompleteFiling                                                                          5/24/2019
Summary Filling                                                          Page 2 of 2
      Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 42 of 53


               Filing     Filing         Original     Converted      Stamped      Optional    Document     Document
   Status                                                                                                                  Fees
               Code     Description     Document      Document       Document     Services    Category     Description
             Docume
             nt)

             Note to
             Clerk:




 Responsible for Filing Fees : State Farm Lloyds
 Send Accepted Notifications To:

 Service Contact 1

     e-Serve            Name            Email Address          Public           Attached To           Status       Date Opened

                                       oochoa@omaro
       Yes          Omar Ochoa                                   Yes                           Sent              Unopened
                                       choalaw.com




 Fees Calculation

  Allowance Charge Reason                                                                      Amount

                                      Total Provider Tax Fees($)                                $0.18

                                 Total Provider Service Fees($)                                 $2.24

                                      Total Court Service Fees($)                               $2.00

                                       Total Service Tax Fees($)                                $0.00

                                 Total Filing & Service Fees($)                                 $0.00

                                        Total Court Filing Fees($)                              $0.00

                                        Total Court Party Fees($)                               $0.00

                                        Total Court Case Fees($)                                $0.00

                                             Convenience Fee($)                                 $0.13

                                                    Total Fees($)                               $4.55




https://www.fileandservetexas.com/Efile/CompleteFiling                                                                   5/24/2019
      Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 43 of 53



                                  CAUSE NO. 19-CCV-064942

JUANA LOPEZ AND AQUILINO                         §                   IN THE COUNTY COURT
LOPEZ                                            §
                                                 §
VS.                                              §                                AT LAW NO. 2
                                                 §
STATE FARM LLOYDS                                §               FORT BEND COUNTY, TEXAS


            DEFENDANT STATE FARM LLOYDS’ FIRST AMENDED ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

       Defendant, STATE FARM LLOYDS (hereinafter, “State Farm”), files its First Amended

Answer to the allegations contained in Plaintiffs’ Original Petition, and all subsequent amended or

supplemental petitions filed against it, and shows as follows:

                                            I.
                                      GENERAL DENIAL

       1.      State Farm generally denies all of the material allegations contained in Plaintiffs’

Original Petition, and any amendments thereto, and demands strict proof thereof as allowed under

the laws of the State of Texas. By this general denial, State Farm would require Plaintiffs to prove

every fact to support the claims in Plaintiffs’ Original Petition, and any amendments thereto, by a

preponderance of the evidence.

                                                II.

                                           DEFENSES

       2.      Policy Coverage Provisions. Under the Insuring Agreement, Plaintiffs bear the

burden to prove damage resulting from an occurrence of accidental direct physical loss to the

insured property during the policy period. Plaintiffs lack proof that any additional damages

resulted from any accidental direct physical loss during the policy period.
     Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 44 of 53



        3.         Payment. State Farm is entitled to an offset or credit against Plaintiffs’ damages,

if any, in the amount of all payments State Farm has made to or on behalf of Plaintiffs under the

Policy in connection with the damages and the insurance claim that give rise to Plaintiffs’ claims

in this lawsuit.

        4.         Deductible/Offset. State Farm is entitled to on offset or credit against Plaintiffs’

damages, if any, in the amount of Plaintiffs’ deductible.

        5.         Limit of Liability. State Farm’s liability, if any, is limited to the amount of the

Policy limits under the subject Policy, pursuant to the “Limit of Liability” and other clauses

contained in the Policy sued upon.

        6.         Failure of Policy Considerations/Conditions Precedent. State Farm hereby

asserts all conditions of the Policy at issue including but not limited to all terms, deductibles,

limitations, exclusions, and all “duties after loss.” Specifically, Plaintiffs have failed to satisfy the

conditions of the Policy requiring Plaintiffs to preserve evidence of the damage, to provide

evidence when reasonably requested, and to mitigate further damage. The Policy states:

                                     SECTION I – CONDITIONS

                   2.     Your Duties After Loss. After a loss to which this insurance may
                          apply, you shall see that the following duties are performed:
                   a.     give immediate notice to us or our agent…
                   b.     protect the property from further damage or loss, make reasonable
                          and necessary temporary repairs required to protect the property,
                          keep an accurate record of repair expenditures;
                                              * * * * *
                   d.     as often as we reasonably require:
                          (1)     exhibit the damaged property;
                          (2)     provide us with records and documents we request and
                                  permit us to make copies
                          (3)     submit to and subscribe, while not in the presence of any
                                  other insured:
                                  (a) statements; and
                                  (b) examinations under oath….
     Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 45 of 53



        7.      Plaintiffs failed to follow the Policy’s condition precedent requirements in several

ways: (1) Plaintiffs failed to preserve evidence of certain damaged areas, as Plaintiffs had already

removed/replaced the alleged damage before State Farm could complete its inspections; and (2)

Plaintiffs failed to mitigate damages, as required by the Policy. These failures were unreasonable

and prejudiced State Farm’s investigation of Plaintiffs’ claims. Plaintiffs, therefore, have failed to

meet the Policy’s conditions precedent and cannot recover, in whole or in part, on Plaintiffs’

breach-of-contract cause of action, and consequently on all of the other causes of action alleged in

Plaintiffs’ Petition.

        8.      Pre-Existing Damages. Plaintiffs’ claims are barred, in whole or in part, because

the damages and losses alleged in Plaintiffs’ Petition, none being admitted, pre-existed the alleged

occurrence of wind or wind-driven rain.

        9.      Normal Wear and Tear. Plaintiffs’ claims are barred, in whole or in part, because

the damages and losses alleged in Plaintiffs’ Petition, none being admitted, were proximately

caused, in whole or in part, by normal wear and tear. The Policy states:

                            SECTION I – LOSSES NOT INSURED

                1. We do not insure for any loss to the property described in Coverage A
                   which consists of, or is directly and immediately caused by, one or more
                   of the perils listed in items a. through n. below, regardless of whether
                   the loss occurs suddenly or gradually, involves isolated or widespread
                   damage, arises from natural or external forces, or occurs as a result of
                   any combination of these:
                                                * * * * *
                   g. wear, tear, marring, scratching, deterioration, inherent vice, latent
                       defect or mechanical breakdown;
                                                * * * * *
                   i. mold, fungus or wet or dry rot….

                3. We do not insure under any coverage for any loss consisting of one or
                   more of the items below. Further, we do not insure for loss described
                   in paragraphs 1.and 2. immediately above regardless of whether one or
                   more of the following: (a)directly or indirectly cause, contribute to or
      Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 46 of 53



                   aggravate the loss; or (b) occur before, at the same time, or after the
                   loss or any other cause of the loss:

                   b. defect, weakness, inadequacy, fault or unsoundness in:

                          (2) design, specifications, workmanship, construction,
                              grading, compaction;

                          (3) materials used in construction or repair; or

                          (4) maintenance;

                   c. weather conditions.


10.    Flood, Surface Water or Neglect. Plaintiffs’ claims are barred, in whole or in part,

because the damages and losses alleged in Plaintiffs’ Petition, none being admitted, were

proximately caused, in whole or in part, by flood, surface water or neglect. The policy states:

                            SECTION I – LOSSES NOT INSURED

               2. We do not insure under any coverage for any loss which would not have
                  occurred in the absence of one or more of the following excluded events.
                  We do not insure for such loss regardless of: (a) the cause of the
                  excluded event; or (b) other cause of the loss; or (c) whether other causes
                  acted concurrently or in any sequence with the excluded event to
                  produce the loss; or (d) whether the event occurs suddenly or gradually,
                  involves isolated or widespread damage, arises from natural forces, or
                  occurs…
                                              * * * * *
                  c. Water Damage, meaning:
                      (1)    Flood, surface water, waves, tidal water, tsunami, seiche,
                             overflow of a body of water, or spray from any of these, all
                             whether driven by wind or not;
                      (2)    water or sewage from outside the residence premises
                             plumbing system that enters through sewers or drains, or
                             water which enters into and overflows from within a sump
                             pump, sump pump well or any other system designed to
                             remove subsurface water which is drained from the
                             foundation area…
                      (3)    water the below the surface of the ground, including water
                             which exerts pressure on, or seeps or leaks through a
                             building, sidewalk, driveway, foundation, swimming pool or
                             other structure; or
      Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 47 of 53



                         (4)     material carried or otherwise moved by any of the water, as
                                 described in paragraphs (1) through (3) above.
                                                 * * * * *
                      d. Neglect, meaning neglect of the insured to use all reasonable means
                         to save and preserve the property at and after the time of a loss, or
                         when property is endangered.

11.    Personal Property. Plaintiffs’ claims are barred, in whole or in part, because the damages

and losses alleged in Plaintiffs’ Petition, none being admitted, were not proximately caused, in

whole or in part, by a wind or hail created opening in the roof or a wall. The policy states:

               COVERAGE B - PERSONAL PROPERTY

               We insure for accidental direct physical loss to property described in
               Coverage B caused by the following perils, except as provided in
               SECTION I - LOSSES NOT INSURED:

                 d.       Windstorm or hail. This peril does not include loss to property
                          contained in a building caused by rain, snow, sleet, sand or dust.
                          This limitation does not apply when the direct force of wind or hail
                          damages the building causing an opening in a roof or wall and the
                          rain, snow, sleet, sand or dust enters through this opening.


               SECTION I - LOSSES NOT INSURED

               2. We do not insure under any coverage for any loss which would not have
                  occurred in the absence of one or more of the following excluded events.
                  We do not insure for such loss regardless of: (a) the cause of the
                  excluded event; or (b) other causes of the loss; or (c) whether other
                  causes acted concurrently or in any sequence with the excluded event to
                  produce the loss; or (d) whether the event occurs suddenly or gradually,
                  involves isolated or widespread damage, arises from natural or external
                  forces…

       12.     Bona Fide/Legitimate Dispute.           A bona fide and legitimate dispute exists

precluding Plaintiffs’ recovery of damages under extra-contractual theories including the common

law duty of good faith and fair dealing, and for violations of the Texas Insurance Code or any other

statutory or common law authority.
     Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 48 of 53



       13.     No Waiver. Plaintiffs’ claims are barred, in whole or in part, because State Farm

did not waive any of its rights under the Policy. The Policy states: “A waiver or change of any

provision of this policy must be in writing by [State Farm] to be valid. State Farm made no such

waiver in this case.

       14.     Cap on Punitive Damages. Texas Civil Practice and Remedies Code §41.001, et.

seq., applies and punitive damages awarded, if any, are subject to the statutory limit set forth

therein, other applicable statutory authority, and common law. Further, unless Plaintiffs prove

State Farm’s liability for punitive damages, and the amount of punitive damages, if any, by clear

and convincing evidence, any award of punitive damages would violate State Farm’s due process

rights guaranteed by the Fourteenth Amendment to the United States Constitution and by Section

19 of Article 1 of the Texas Constitution.


       15.     Written Notice of Claim. Defendant specifically denies that Plaintiffs provided

State Farm with “notice of claim” pursuant to §§ 542.051(4) and 542.055(a) of the Texas Insurance

Code. The statute specifically states “‘[n]otice of a claim’ means any written notification provided

by a claimant to an insurer that reasonably apprises the insurer of the facts relating to the claim.”

TEX. INS. CODE § 542.051(4). Because written notification was not provided by Plaintiffs, they are

barred from recovering under Chapter 542 of the Texas Insurance Code. Defendant also

specifically denies that the Policy obligated State Farm to inform Plaintiffs that written notice of

the claim was required, and Defendant specifically denies that it was under any duty to provide

notice regarding the applicability of Chapters 541 or 542 of the Texas Insurance Code.

       16.     Chapter 542A. Defendant asserts the limitations on the recovery of attorneys’

fees, if any, as per TEX. INS. CODE § 542A.007. Further, Plaintiffs failed to provide pre-suit notice

stating the specific amount alleged to be owed as required by TEX. INS. CODE § 542A.003(b)(2).
     Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 49 of 53



                                            III.
                                      RIGHT TO AMEND

       17.     State Farm reserves the right to amend this Original Answer pursuant to the Texas

Rules of Civil Procedure.

                                             IV.
                                        JURY DEMAND

       18.     State Farm demands a trial by jury pursuant to Texas Rule of Civil Procedure 216.

       WHEREFORE, PREMISES CONSIDERED, Defendant, STATE FARM LLOYDS,

respectfully requests that upon final trial and hearing hereof, that Plaintiffs take nothing and that

Defendant recover its costs, fees, and expenses, and for such other further relief to which

Defendant may show itself to be justly entitled, both in law and at equity.

                                              Respectfully submitted,

                                              GERMER PLLC


                                              By:____________________________
                                                 DALE M. “RETT” HOLIDY
                                                 State Bar No. 00792937
                                                 America Tower
                                                 2929 Allen Parkway, Suite 2900
                                                 Houston, Texas 77019
                                                 (713) 650-1313 - Telephone
                                                 (713) 739-7420 - Facsimile
                                                 rholidy@germer.com

                                              ATTORNEY FOR DEFENDANT,
                                              STATE FARM LLOYDS
     Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 50 of 53



                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument has been served on
all counsel of record on this 5th day of June, 2019.

               Omar Ochoa                                            VIA E-SERVICE
               OMAR OCHOA LAW FIRM
               121 N. 10th Street
               McAllen, Texas 78501




                                              DALE M. “RETT” HOLIDY
                    Case 4:19-cv-02029 Document 1 Filed on 06/05/19 in TXSD Page 51 of 53


Erika Lopez

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To:                      erikalopez.gb@fsxclient.com
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clerk office processing.

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Court                                   Fort Bend County - County Clerk
Date/Time Submitted                     6/5/2019 4:50 PM CST
Filing Type                             Answer/Response
Filing Description                      Defendant State Farm Lloyds' First Amended Answer
Type of Filing                          EFileAndServe
Filed By                                Erika Lopez
Filing Attorney                         Rett Holidy

                                                        Fee Details
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 Answer/Response                             $40.00
  Optional Services     Fee Per Quantity

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 Jury Fee                      $40.00    1           $40.00
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